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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 LINDA MEDLEY,

        Plaintiff,

 v.                                                               Case No: 8:16-cv-2534-T-36TBM

 DISH NETWORK, LLC,

       Defendant.
 ___________________________________/

                                              ORDER

        Plaintiff filed a four count Complaint (Doc. 2) arising from Defendant’s efforts to collect

 a debt owed for satellite television products and services. Three counts allege that Defendant

 violated the Florida Consumer Collections Practices Act, § 559.72 of the Florida Statutes

 (“FCCPA”), in attempting to collect debt subject to a bankruptcy discharge order and permanent

 injunction. Doc. 2 ¶¶ 56-73. Count IV alleges that Defendant violated the Telephone Consumer

 Protection Act, 47 U.S.C. § 227 (“TCPA”), by using an automatic telephone dialing system

 (“ATDS”) or artificial or prerecorded voice (“APV”) to call her cellular telephone without her

 consent. Doc. 2 ¶¶ 74-83.

        Defendant moves for summary judgment on all counts, arguing that it never attempted to

 collect the discharged debt, its conduct did not rise to the level of conduct necessary for liability

 under the FCCPA, and Plaintiff consented to being contacted on her cellular telephone. Doc. 31.

 Plaintiff moves for summary judgment on Counts II-IV of the Complaint, arguing that Defendant

 received notice and had actual knowledge of her bankruptcy discharge, but unlawfully attempted

 to collect debt from her, including by use of an ATDS, APV, or predictive telephone dialing system

 (“PTDS”). Doc. 45. Plaintiff does not seek summary judgment as to Count I. Id. Upon due


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 consideration of the parties’ submissions, including affidavits, depositions and exhibits, and for

 the reasons that follow, the Court will grant Defendant’s Motion for Summary Judgment (Doc.

 31), and deny Plaintiff’s Motion for Summary Judgment (Doc. 45).

 I.     STATEMENT OF THE FACTS 1

        Plaintiff Linda Medley entered into a Digital Home Advantage Plan Agreement (the

 “Agreement”), which incorporated a Residential Customer Agreement (“RCA”), with Defendant

 Dish Network, LLC (“Dish”), on April 15, 2013, for a 24-month commitment. Doc. 31-3; Doc.

 37-1 ¶ 4; Doc. 52 ¶ 1. As part of the Agreement, Medley provided Dish with her telephone number.

 Doc. 31-3 at 2. Beneath her signature, the Agreement states that

        By signing above, you authorize DISH, and any debt collection agency or debt
        collection attorney hired by DISH, to contact you regarding your DISH Network
        account or to recover any unpaid portion of your obligation to DISH, through an
        automated or predictive dialing system or prerecorded messaging system, at the
        phone number (including any cellular phone number), or other contact information
        you have provided or subsequently provide to dish. You understand that you do
        not need to provide a cellular phone number to receive DISH services.

 Id. at 3. In addition, the RCA states that Medley “authorize[s] DISH and its affiliates, and its and

 their third-party representatives, to contact [her]: (i) regarding [her] account; (ii) to recover any

 unpaid portion of any obligation to DISH or its affiliates; and/or (iii) for any other purpose not

 prohibited by law.” Id. at 16-17. To accomplish this, Medley agreed that contact could be made

 “at the telephone number(s) that [Medley] provide[d] to DISH, including, without limitation, any

 mobile telephone number(s).” Id. at 17. When Plaintiff entered into the Agreement, she provided

 the telephone number 727-XXX-2894. Doc. 52 ¶ 2. Later, on April 18, 2014, Medley spoke with

 a Dish representative and provided Dish with the telephone number at issue in this case, 727-XXX-



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  The Court has determined the facts, which are undisputed unless otherwise noted, based on the
 parties’ submissions, including the Joint Stipulation of Agreed Material Facts (Doc. 52),
 affidavits, depositions, and exhibits.
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 9414 (the “Number”), which is Medley’s cellular telephone number. Doc. 51-2 ¶ 11; Doc. 51-5 at

 5; Doc. 52 ¶¶ 3, 5.

        An exhibit to the RCA listed fees for various services. Doc. 31-3 at 19. Among the services

 listed is Dish Pause. Id. The Agreement indicated that if Medley “participate[d] in DISH Pause

 or any other program that allow[ed her] to temporarily suspend [her] DISH service . . . [her] term

 commitment w[ould] be extended by the number of days that [her] service [was] suspended.” Id.

 at 3. The Charge for Dish Pause would be $5.00. Id. at 19.

        The Account Notes for Medley’s account reflect that it was activated on April 15, 2013.

 Doc. 51-5 at 8. On March 14, 2014, Medley called Dish from the Number with the intention of

 cancelling or otherwise stopping her services from Dish because she was experiencing financial

 hardship. Doc. 31-4 at 3; Doc. 37-1 ¶¶ 5, 11; Doc. 52 ¶ 4. She learned that an early termination

 fee of several hundred dollars would apply, which she could not afford. Doc. 37-1 ¶ 11. Dish’s

 representative advised her of the Pause program, which she elected to subscribe to, and which had

 the effect of suspending her Dish services and reducing her monthly bill to $5.00. Doc. 31-4 at 3;

 Doc. 37-1 ¶ 11; Doc. 51-5 at 5. At the end of the Pause period, Medley’s services would re-start

 with the same amount of time remaining on her contract that existed when she began the Pause

 program. Doc. 65-3 at 68:4-16.

        Approximately one month after electing to use Pause, on April 18, Medley called Dish,

 again from the Number, and advised Dish that she needed to cancel her service, and that she

 intended to file for bankruptcy. Doc. 31-3 at 3; Doc. 31-4 at 3; Doc. 52 ¶ 5. She asked what

 paperwork she would need to provide to Dish regarding her bankruptcy and Dish advised that she

 would need to send documents, but the call was then disconnected. Doc. 31-3 at 3.




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        Because a bankruptcy petition had not yet been filed, and Medley had elected to use the

 Pause program, Medley’s bill for April 15, 2014 to May 14 was $5.00, plus applicable taxes. Doc.

 31-6 at 31. She received prorated credits for various services that were removed, making her bill

 negative $22.24. Id. Medley’s May 15 to June 14 bill also reflected monthly charges of $5.00

 plus tax, and no payment was due because she had a remaining credit of $16.89. Id. at 33. On

 June 1, Dish billed Medley the same amount for the June 15 through July 14 billing period, and

 no payment was due because she continued to have a credit of $11.54. Id. at 35.

        Medley filed a voluntary petition for bankruptcy under Chapter 7 on May 26, 2014, and

 listed Dish as an unsecured creditor on Schedule F of her petition, which pertains to creditors

 holding unsecured nonpriority claims. Doc. 51-6 at 9; Doc. 52 ¶ 7. She indicated on the schedule

 that she was indebted to Dish in the amount of $831.74, and the debt was incurred for satellite

 services. Doc. 51-6 at 9; Doc. 52 ¶ 8. In her affidavit before this Court, Medley asserts that this

 amount was intended to include the anticipated cancellation fees. Doc. 37-1 ¶ 15. With respect to

 Schedule G for executory contracts and unexpired leases, Medley did not list the Agreement, and

 instead checked the box indicating that she had no executory contracts. Doc. 51-6 at 12. Dish’s

 policy is to maintain an active account with a customer who files for bankruptcy unless the

 paperwork indicates that the debtor no longer wishes to be a customer. Doc. 65-3 at 111:25-112:3.

        Dish was notified of Medley’s bankruptcy filing and, on June 13, noted the bankruptcy in

 its system. Doc. 31-5 at 4. The notation indicated that a discharge had not yet been received and

 the account would be monitored and written off when discharge was granted. Id. Dish continued

 to bill Medley for the Pause program and, therefore, for the July 15 to August 14 billing period,

 and August 15 to September 14 billing periods, Medley was charged $5.00, plus tax, reducing her

 credit to $0.84. Doc. 31-6 at 37, 39. On the September 15 to October 14 bill, Medley was again



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 charged for Pause, which exceeded her credit. Id. at 41. Dish wrote off the amount that exceeded

 her credit because of the bankruptcy. Id.

        The bankruptcy court entered a discharge order in Medley’s bankruptcy proceeding on

 August 26, 2014. Doc. 37-2 at 9; Doc. 52 ¶ 9. During the bankruptcy proceeding, Medley never

 reaffirmed or assumed the Agreement, and believed the Agreement was terminated. Doc. 37-1 ¶¶

 17, 19. On September 15, Dish noted the discharge and wrote off Medley’s account, but indicated

 in its system that Medley would be responsible for all charges after the file date. Id. Thus, on

 October 4, Dish sent Medley an e-statement, reflecting a $5.00 charge for Pause, plus tax. Id.; see

 also Doc. 31-6 at 43. The statement indicated that Medley’s account would be charged by autopay

 on October 21, the bill’s due date. Doc. 31-6 at 42.

        On October 15, Medley’s counsel sent a fax transmission to a number owned by Dish.

 Doc. 52 ¶ 10. The fax indicated that she was represented by counsel with regards to her debts,

 including her debts owed in connection with her Dish account. Doc. 2 at 30. The fax cautioned

 that any further communications to Medley would violate section 559.72(18) of the Florida

 Statutes. Id. The fax further advised that the TCPA prohibited the making of calls by an ATDS

 or APV to a cellular telephone without prior express consent, and that if prior express consent had

 previously been given, it was revoked. Id. Medley’s counsel sent a similar fax on December 30.

 Doc. 52 ¶ 13.

        Dish e-mailed Medley on October 24 to notify her that the autopayment was declined. Doc.

 51-5 at 5. Dish sent additional e-statements in November and December that reflected charges for

 Pause, the prior unpaid balance, and other fees. Doc. 31-6 at 45, 47; Doc. 51-5 at 4. Medley’s

 nine-month Pause subscription ended in December, causing Dish to bill her for the services she

 elected to receive in the Agreement. Doc. 31-6 at 49. However, because Medley had unpaid bills,



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 Dish immediately discontinued the services, and included a prorated credit on her January bill.

 Id.; Doc. 51-2 ¶ 18. Dish also sent Medley a billing notification on February 14 for the previously

 due amounts. Doc. 31-6 at 50-51. Over the course of these events, Dish sent Medley billing

 notifications with respect to her bills. Doc. 52 ¶ 11.

        During this time period, Dish also contacted Medley by telephone. The Outbound Call

 Log reflects that Dish called Medley six times at the Number. Doc. 51-2 ¶ 13; Doc. 51-9 at 3. The

 calls included the following: (1) a call on October 24, which was picked up by the answering

 machine, to notify Medley of a returned check; (2) a call on November 17, which was answered,

 to notify Medley of returned mail; (3) a payment reminder call on November 26, which was

 answered; (4) a call on December 15, which was picked up by an answering machine, to notify

 Medley that Pause would be removed; (5) a call on December 18, which was answered, to notify

 Medley of returned mail; and (6) a call on January 16, 2015, which was picked up by an answering

 machine, reminding Medley to return Dish’s equipment. Doc. 51-9 at 3; Doc. 52 ¶ 12. The calls

 were made using a prerecorded voice. Doc. 52 ¶ 12.

        On August 31, 2016, Medley filed the instant case against Dish raising three counts under

 the FCCPA, and one count under the TCPA. Doc. 2. Count One alleges that Dish had actual

 knowledge of the bankruptcy discharge and injunction, as well as Medley’s representation by

 counsel, but made at least four calls to Medley’s Number using an ATDS, PTDS, or APV, and

 sent at least six e-mails, seeking to collect a debt in violation of section 559.72(7) of the FCCPA,

 and in an attempt to abuse and harass Medley. Id. ¶¶ 56-63. Count Two alleges that Dish attempted

 to collect a debt that it falsely asserted was legitimate, despite knowing that it was subject to the

 discharge order and injunction, in violation of section 559.72(9). Id. ¶¶ 64-69. Count Three alleges

 that Dish repeatedly and intentionally communicated with Medley despite knowing that she was



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 represented by counsel, in violation of section 559.72(18). Id. ¶¶ 70-73. Count Four alleges that

 any consent by Medley to receive calls on the Number from an ATDS, PTDS, or APV was revoked

 when Medley received notice of her representation by an attorney on her bankruptcy petition, and

 that Dish made telephone calls to her Number using an ATDS, PTDS, or APV in the absence of

 her consent. Id. ¶¶ 74-83.

 II.    LEGAL STANDARD

        Summary judgment is appropriate when the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, show there is no genuine issue

 as to any material fact and that the moving party is entitled to judgment as a matter of law. Fed.

 R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265

 (1986). The moving party bears the initial burden of stating the basis for its motion and identifying

 those portions of the record demonstrating the absence of genuine issues of material fact. Celotex,

 477 U.S. at 323; Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259-60 (11th Cir. 2004).

 That burden can be discharged if the moving party can show the court that there is “an absence of

 evidence to support the nonmoving party’s case.” Celotex, 477 U.S. at 325.

        When the moving party has discharged its burden, the nonmoving party must then

 designate specific facts showing that there is a genuine issue of material fact. Id. at 324. Issues

 of fact are “genuine only if a reasonable jury, considering the evidence present, could find for the

 nonmoving party,” and a fact is “material” if it may affect the outcome of the suit under governing

 law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49, 106 S. Ct. 2505, 91 L. Ed. 2d 202

 (1986). In determining whether a genuine issue of material fact exists, the court must consider all

 the evidence in the light most favorable to the nonmoving party. Celotex, 477 U.S. at 323.




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 However, a party cannot defeat summary judgment by relying upon conclusory allegations. See

 Hill v. Oil Dri Corp. of Ga., 198 F. App’x 852, 858 (11th Cir. 2006).

         The standard of review for cross-motions for summary judgment does not differ from the

 standard applied when only one party files a motion, but simply requires a determination of

 whether either of the parties deserves judgment as a matter of law on the facts that are not disputed.

 Am. Bankers Ins. Grp. v. United States, 408 F.3d 1328, 1331 (11th Cir. 2005). The Court must

 consider each motion on its own merits, resolving all reasonable inferences against the party whose

 motion is under consideration. Id. The Eleventh Circuit has explained that “[c]ross-motions for

 summary judgment will not, in themselves, warrant the court in granting summary judgment unless

 one of the parties is entitled to judgment as a matter of law on facts that are not genuinely disputed.”

 United States v. Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984) (quoting Bricklayers Int’l Union,

 Local 15 v. Stuart Plastering Co., 512 F.2d 1017 (5th Cir. 1975)). Cross-motions may, however,

 be probative of the absence of a factual dispute where they reflect general agreement by the parties

 as to the controlling legal theories and material facts. Id. at 1555-56.

 III.    DISCUSSION

         Dish indisputably did not attempt to collect any debt that accrued prior to Medley’s

 bankruptcy petition. Doc. 51-5 at 4. The parties’ dispute stems from a disagreement over whether

 the Agreement survived Medley’s bankruptcy, and whether Dish could continue to bill Medley for

 charges that accrued post-petition based on the Agreement. Relevant to this question is whether

 the Agreement is executory, and whether Medley, either actively or passively, rejected the

 Agreement. Thus, before addressing Medley’s TCPA and FCCPA claims, the Court must first

 determine the status of the Agreement after Medley filed her bankruptcy petition.




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         The Bankruptcy Code provides that a discharge in bankruptcy “operates as an injunction

 against the commencement or continuation of an action . . . or an act, to collect, recover or offset

 any such debt as the personal liability of the debtor.” 11 U.S.C. § 524(a)(2). This provision

 embodies the “fresh start” that is given to debtors who receive bankruptcy relief.                In re

 Thompson¸456 B.R. 121, 137 (M.D. Fla. 2010). “Section 524 is intended to insure that once a

 debt is discharged, the debtor will not be pressured in any way to repay it.” In re McLean, 794

 F.3d 1313, 1321 (11th Cir. 2015) (citations and internal quotations omitted).

         Additionally, under a Chapter 7 case, “if the trustee does not assume or reject an executory

 contract . . . of the debtor within 60 days after the order for relief . . . then such contract . . . is

 deemed rejected.” 11 U.S.C. § 365(d)(1). The Bankruptcy Code, itself, does not define an

 executory contract. However, the United States Court of Appeals for the Eleventh Circuit has

 adopted the functional, rather than traditional, approach to determine whether a contract is

 executory. In re Soderstrom¸484 B.R. 874, 879 (M.D. Fla. 2013) (citing Thomkins v. Lil’ Joe

 Records, Inc., 476 F.3d 1294, 1306 n.13 (11th Cir. 2007)). Under the functional approach the

 Court “examines whether both parties have outstanding material obligations under the contract,”

 id., but “[e]ven though there may be material obligations outstanding on the part of only one of

 the parties to the contract, it may nevertheless be deemed executory . . . if its assumption [][or]

 rejection would ultimately benefit the estate and its creditors,” id. (quoting Thompkins, 476 F.3d

 at 1306 n.13) (alterations in original)). Whether a contract is executory is determined at the time

 the petition is filed. In re Peralta Food Corp., No. 07-16508-BKC-AJC, 2008 WL 190503, at *3

 (S.D. Fla. Jan. 18, 2008). “An executory contract is not subject to § 365, however, when the debtor

 fails to disclose the existence of the contract on her bankruptcy schedules.” In re Zuniga, 287 B.R.




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 201, 206 (E.D. Mo. 2001) (citing Fin’l Corp. v. McCraw Candies, Inc.¸347 F. Supp. 445 (N.D.

 Tex. 1972)). 2

        Schedule G of the bankruptcy petition concerns executory contracts. The instructions for

 Schedule G direct the debtor to “list all agreements that may be executory contracts . . . including”

 “service provider agreements” and “internet and cable contracts.” U.S. Bankr. Ct., Instructions to

 Bankruptcy       forms    for     Individuals,    at     24     (Dec.     2017),     available     at

 http://www.uscourts.gov/sites/default/files/instructions_individuals_0.pdf.        Although Medley

 listed Dish as a creditor on another schedule, she did not list the Agreement on Schedule G as an

 executory contract. Doc. 51-6 at 12. Instead, Medley indicated that she had no executory

 contracts. Id.

        Nonetheless, the Court finds that the Agreement was an executory contract when Medley

 filed her bankruptcy petition. Although at the moment Medley filed for bankruptcy, the services

 owed by Dish were on “Pause,” the feature only suspended the duration of the contract. Doc. 31-

 3 at 3. At the end of the suspension period, Medley was required to pay for, and Dish was required

 to provide, the services agreed to under the Agreement, for the same amount of time that remained

 on the contract before Medley elected to use the Pause feature. Id. Thus, Dish as well as Medley

 still had obligations under the Agreement when Medley’s bankruptcy petition was filed such that

 its failure to perform would have been a material breach, rendering the Agreement executory.

        Accordingly, the Agreement could have been rejected by Medley when she filed her

 bankruptcy petition. However, because Medley did not disclose that the Agreement existed in




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   The Court has not located, nor have the parties cited, any cases within the Eleventh Circuit on
 this subject. Indeed, Medley fails to even address the issue in her reply to Dish’s response to her
 Motion for Summary Judgment, despite it being raised by Dish. Doc. 56. Instead, she simply
 indicates that she listed Dish as a creditor.
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 Schedule G, it is not deemed to have been rejected under § 365. In re Zuniga, 287 B.R. at 206.

 The discharge order entered in Medley’s bankruptcy case did not terminate the Agreement between

 Medley and Dish. Accordingly, the Agreement survived Medley’s bankruptcy.

        Medley relies on Harrier v. Verizon Wireless Personal Communications LP, 903 F. Supp.

 2d 1281 (M.D. Fla. 2012), to argue that the Agreement was terminated by the bankruptcy

 discharge. There, after obtaining a discharge in a Chapter 7 bankruptcy, the plaintiff filed a

 complaint against the defendant, a former creditor, alleging violations of the TCPA and FCCPA.

 Id. at 1282. The defendant was listed as a creditor in the bankruptcy proceeding, and received a

 notice of the plaintiff’s discharge. Id. The plaintiff alleged in his TCPA/FCCPA action that the

 defendant contacted him after the bankruptcy discharge and attempted to collect a debt. Id. The

 defendant moved to compel arbitration based on an arbitration provision contained in the pre-

 bankruptcy contract between itself and the plaintiff. Id. Relying on 11 U.S.C. § 524(a)(2), the

 Court determined that the plaintiff’s bankruptcy discharge rendered the parties’ arbitration

 agreement unenforceable. Id. at 1283. Relevant to the Court’s decision was the fact that the parties

 did not sign a reaffirmation agreement during the bankruptcy proceeding. Id. at 1283-84.

        However, there is an important distinction between the instant case and Harrier. In

 Harrier, the parties did not dispute that the bankruptcy discharge applied so as to terminate the

 relationship between the parties moving forward. The dispute pertained to the debt that was listed

 on the bankruptcy schedules, and which was indisputably discharged. Id. at 1282. The question

 addressed in Harrier was whether the arbitration clause contained in the pre-petition agreement

 survived the discharge. Thus, Harrier is not applicable here where there was no indication in

 Medley’s bankruptcy schedules that she had an outstanding contract with Dish.




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         Thus, having determined the status of the Agreement, the Court may now evaluate whether

 Dish violated the FCCPA or TCPA through its communications with Medley after her bankruptcy

 discharge.

         A.     The FCCPA

         The FCCPA permits a “debtor” to bring a civil action against a person who violates the

 statute’s provisions. § 559.77(1), Fla. Stat. (2018). Medley raises three FCCPA claims pursuant

 to three subsections of the statute which, respectively, prohibit people from engaging in the

 following conduct in collecting consumer debts: making harassing phone calls, attempting to

 collect a debt that is not legitimate, and communicating with a debtor knowing that he or she is

 represented by counsel. § 559.72(7), (9), (18), Fla. Stat.

         As an initial matter, Dish asserts that Medley’s FCCPA claims must fail because the

 Complaint “defines ‘Debt’ as alleged balance due for satellite television products and services that

 was discharged on August 26, 2014,” (Doc. 31 at 18) (internal quotations and citations omitted),

 and “Plaintiff’s Complaint makes clear that she is seeking to hold DISH liable for alleged

 collection efforts in connection with the Discharged Debt,” (id. at 20), which Dish did not attempt

 to collect.

         The Complaint defines the “Debt” as “an alleged balance due for satellite television

 products and services referenced by account number ending in -8000.” Doc. 2 ¶ 8. The Complaint

 also alleges that the bankruptcy court discharged the “Debt” on August 26, 2014, the discharge

 order “eliminated any in personam liability . . . for the Debt,” and that Dish “had an affirmative

 duty to cease collection activity on the Debt after receiving actual notice of the Discharge Order

 and the Permanent Injunction.” Id. ¶¶ 25, 28, 30. The Complaint additionally alleges that as a

 result of Dish’s communications, Medley “believed that the hiring of an attorney for representation



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 with respect to the Debt was wholly ineffective, and believed that [her] Bankruptcy Case and

 Discharge were wholly ineffective . . . .” Id. ¶ 50. In her FCCPA counts, Medley alleges that

 Dish’s communications attempting to collect the “Debt” were made despite having knowledge of

 the discharge order. Id. ¶¶ 57, 60, 65-67, 71-72.

        It is clear that Medley’s FCCPA claims concern Dish’s attempts to collect debt that was

 included in her bankruptcy and subject to the discharge order and permanent injunction. As

 previously stated, Medley’s bankruptcy did not affect the debts that continued to accrue under the

 Agreement because the Agreement was not listed as an executory contract in the bankruptcy

 proceeding. The undisputed evidence demonstrates that Dish did not attempt to collect any debt

 that was included in Medley’s bankruptcy proceedings and subject to the discharge order and

 permanent injunction, but instead wrote this amount off. Dish attempted to collect only post-

 petition debt. Doc. 51-5 at 4. Had Medley desired to include post-petition debt not subject to the

 discharge order in her FCCPA claims, which she attempts to do in her response to Dish’s Motion

 for Summary Judgment (Doc. 37 at 18-19), she was required to amend her pleadings in accordance

 with Federal Rule of Civil Procedure 15, which she did not do. Gilmour v. Gates, McDonald &

 Co., 382 F.3d 1312, 1314 (11th Cir. 2004) (stating that despite the liberal pleading standard that

 applies in federal court, plaintiffs do not have the “opportunity to raise new claims at the summary

 judgment stage,” at which point “the proper procedure for plaintiffs to assert a new claim is to

 amend the complaint in accordance with Fed. R. Civ. P. 15(a).”). All of the alleged unlawful

 contact with Medley by Dish concerns debt incurred post-petition. Accordingly, Dish is entitled to

 summary judgment as to Medley’s FCCPA claims on this basis alone. Nonetheless, the Court will

 also address the individual claims below.




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                1.       Harassing Phone Calls

        Section 559.72(7) of the FCCPA prohibits people collecting consumer debts from

 “[w]illfully communicat[ing] with the debtor . . . with such frequency as can reasonably be

 expected to harass the debtor . . . or willfully engag[ing] in other conduct which can reasonably be

 expected to abuse or harass the debtor . . . .” To determine whether there has been a violation of

 the FCCPA, a court must look to “the purpose as well as the frequency of the creditor’s calls.”

 Harrington v. Roundpoint Mortg. Servicing Corp., No. 2:15-cv-322-FtM-38MRM, 2017 WL

 1378539, at *10 (M.D. Fla. Apr. 11, 2017) (quoting Story v. J.M. Fields, Inc., 343 So. 2d 675, 677

 (Fla. 1st DCA 1977)).

        No definitive threshold has been set to determine what frequency or volume of calls

 violates the FCCPA, but “courts generally have held that one or two phone calls per day are not

 sufficient . . . absent evidence of other egregious conduct associated with the calls.” Wolhuter v.

 Carrington Mortg. Servs., LLC, No. 8:15-cv-552-MSS-TBM, 2015 WL 12819153, at *3 (M.D.

 Fla. Oct. 28, 2015) (collecting cases). For example, if calls are made in a harassing nature or

 pattern, such as during overnight or early morning hours, this could support a conclusion that the

 defendant violated the FCCPA. Id. Additionally, even if a plaintiff submits proof of numerous

 calls, there will be no violation of the FCCPA if “the creditor called only to inform or remind the

 debtor of the debt, to determine his reasons for nonpayment, to negotiate differences or to persuade

 the debtor to pay without litigation.” Harrington, 2017 WL 1378539 at *10 (quoting Story, 343

 So. 2d at 677). However, if calls “continue after all such information has been communicated and

 reasonable efforts at persuasion and negotiation have failed,” then the communication “can

 reasonably be expected to harass the debtor” and “tends only to exhaust the resisting debtor’s will.”

 Story, 343 So. 2d at 677. Although “the question of whether conduct is harassing or abusive is



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 ordinarily an issue for the factfinder,” “courts will grant summary judgment where a plaintiff rests

 on the number of phone calls, without other evidence of harassing conduct.” Garrett v. Credit

 Protection Association, L.P., No. 8:16-cv-2999-T-33AAS, 2017 WL 3193759, at *7 (M.D. Fla.

 July 27, 2017).

        Dish made approximately six telephone calls and sent approximately five routine billing

 notifications to Medley after her bankruptcy discharge, over a period of approximately five

 months. Doc. 52 ¶¶ 11-12. There is no other evidence of harassing conduct. Courts have

 previously held that six telephone calls over a six-month period were “as a matter of law neither

 frequent nor harassing so as to violate section 559.72(7), Florida Statutes.” Dennis v. Reg’l

 Adjustment Bureau, No. 09-61494-CIV, 2010 WL 33559369, at *3 (S.D. Fla. July 7, 2010)

 (quoting Schauer v. Morse Operations, Inc., 5 So. 3d 2, 5 (Fla. 4th DCA 2009)); see also

 Harrington v. RoundPoint Morg. Serv. Corp., 290 F. Supp. 3d 1306, 1319 (M.D. Fla. 2017)

 (finding that a pattern of calling the debtor approximately 23 times a month did not constitute

 harassment, and finding persuasive that the debt was legitimate, there was no evidence of

 abrasiveness, and the defendant did not answer the calls). The Court finds that, as a matter of law,

 Dish’s conduct here did not rise to the level of harassment so as to violate section 559.72(7).

 Accordingly, Dish is entitled to summary judgment on Count I.

                   2.   Attempt to Collect Illegitimate Debt

        Section 559.72(9) prohibits any person attempting to collect a consumer debt from

 “[c]laim[ing], attempt[ing], or threaten[ing] to enforce a debt when such person knows that the

 debt is not legitimate, or assert[ing] the existence of some other legal right when such person

 knows that the right does not exist.” To establish a violation of this section, the plaintiff must

 show “that a legal right that did not exist was asserted and that the person had actual knowledge



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 that the right did not exist.” Daniel v. Select Portfolio Servicing, LLC, 159 F.Supp.3d 1333, 1336

 (S.D. Fla. 2016).

        In asserting this claim, Medley relies on the fact that she received a discharge in

 bankruptcy. Doc. 2 ¶¶ 65-66. However, it is undisputed that Dish did not attempt to collect the

 discharged debt. Instead, it attempted to collect only amounts that accrued following Medley’s

 bankruptcy petition. Doc. 51-5 at 4. As previously explained, because Medley did not list the

 Agreement as an executory contract on her bankruptcy schedules, the Agreement survived the

 bankruptcy proceeding. Thus, Dish did not assert a right to payment that it knew did not exist by

 attempting to collect the post-petition debt, did not violate section 559.72(9), and is entitled to

 summary judgment on Count II.

                3.      Communication with Debtor Represented by an Attorney

        Section 559.72(18) prohibits any person attempting to collect a consumer debt from

 “[c]ommunicat[ing] with a debtor if the person knows that the debtor is represented by an attorney

 with respect to such debt and has knowledge of, or can readily ascertain, such attorney’s name and

 address . . . .” Pursuant to the plain language of the statute, the debtor must demonstrate that the

 debt collector “knows” or has “knowledge” that the consumer is represented by an attorney “with

 respect to” a debt. Castellanos v. Portfolio Recovery Assocs., LLC, 297 F. Supp. 3d 1301, 1309

 (S.D. Fla. 2017).

        The faxes sent by Medley’s counsel identified Medley’s Dish account number and stated

 that counsel “represent[ed] Linda Medley with regard to her debts generally (i.e. for the purpose

 of settling ALL of her debts for filing a bankruptcy), including the above listed account and any

 other accounts of debts which you or your agency is attempting to collect from our client(s).” Doc.

 2 at 30, 39, 48. The faxes were sent to Dish’s collections department. Doc. 65-3 at 26:19-27:3.



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        The faxes specifically pertain to Medley’s bankruptcy-related debts. By adding the “i.e.”,

 or, in other words, “that is” parenthetical, Medley’s counsel defined the scope of the debts that fell

 under his representation. Although the scope appears expansive based on the clause that follows

 the parenthetical, the clause simply clarifies that the bankruptcy-related debts include the listed

 account as well as any other debt that fell within the purview of her bankruptcy. The faxes are

 evidence that Medley was represented by counsel in connection with her bankruptcy proceeding,

 and thus, pre-petition debt. Accordingly, Dish did not have actual knowledge that Medley was

 represented by counsel with respect to the specific debt, post-petition debt, that it attempted to

 collect and it is entitled to summary judgment on Count III.

        B.      The TCPA

        The TCPA is designed to protect individual consumers from receiving intrusive and

 unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372, 132 S. Ct. 740,

 745, 181 L. Ed. 2d 881 (2012). The TCPA prohibits any person from “mak[ing] any call (other

 than a call made for emergency purposes or made with the prior express consent of the called

 party) using any automatic telephone dialing system [(“ATDS”) ] or an artificial or prerecorded

 voice . . . to any telephone number assigned to a . . . cellular telephone service . . . .” 47 U.S.C. §

 227(b)(1)(A)(iii). The elements of a TCPA claim are “(1) that the defendant called the plaintiff’s

 cellular telephone; (2) using an ATDS; (3) without the plaintiff’s prior express consent.” Wagner

 v. CLC Resorts & Dev., Inc., 32 F. Supp. 3d 1193, 1195 (M.D. Fla. 2014) (citation omitted).

        A called party may expressly consent to receive ATDS calls from a creditor. 47 U.S.C. §

 227(b)(1)(A). “[T]he provision of a mobile phone number, without limiting instructions suffices

 to establish the consumer’s general consent to be called under the TCPA.” Lawrence v. Bayview

 Loan Servicing, LLC, 666 F. App’x 875, 880 (11th Cir. 2016) (citing In re Rule & Regulations



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 Implementing the Tel. Consumer Prot. Act of 1991 (1992 Ruling), 7 FCC Rcd. 8752, 8769).

 However, a consumer may also revoke such consent. Schweitzer v. Comenity Bank, 866 F.3d

 1273, 1274-75 (11th Cir. 2017) (citing Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255

 (11th Cir. 2014)).

        Here, Dish admits that it used a prerecorded voice to call Medley. Doc. 51 at 22; Doc. 52

 ¶ 12. Because “[t]he TCPA imposes liability where a party either uses an ATDS or uses a pre

 recorded or an artificial voice,” Lardner v. Diversified Consultants, Inc., 17 F. Supp. 3d 1215,

 1223 (S.D. Fla. 2014) (citing 47 U.S.C. § 227(b)(1)(A)), the Court need not analyze whether Dish

 used an ATDS. Instead, the issue presented in this case is whether Medley could unilaterally

 revoke consent to receive such calls after giving prior express consent in the Agreement. Doc. 31-

 3 at 3, 16-17; Doc. 51-5 at 5. Medley argues that the TCPA allows her to revoke consent, and that

 she did so via the faxes sent by her counsel, which stated that any consent Medley had previously

 given to receive prerecorded calls on her cellular telephone was “forever revoked consistent with

 the Florida and federal law.” Doc. 2 at 30, 39, 48; Doc. 37 at 14-17. Dish contends that because

 Medley’s consent was given in a bargained-for contractual provision, she could not unilaterally

 revoke it. Doc. 31 at 14-17, 23-25.

        The Eleventh Circuit addressed revoking consent in Osorio, which concerned whether

 consent to be called on a wireless number by an autodialer could be revoked orally. 746 F.3d at

 1255. There, the Court stated that “in the absence of any contractual restriction to the contrary,”

 the consumer was “free to orally revoke any consent previously given to” the creditor in connection

 with the consumer’s debt. Id. In so concluding, the Court reasoned that consent could be orally

 revoked at the common law, and that unless a statute states otherwise, courts should infer that

 Congress intends to incorporate the common law meanings of terms. Id. Moreover, the Court



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 explained that “allowing consent to be revoked orally is consistent with the ‘government interest

 articulated in the legislative history of the [TCPA] [that] enable[es] the recipient to contact the

 caller to stop future calls.’ ” Id. (quoting Maryland v. Universal Elections, Inc., 729 F.3d 370,

 376-77 (4th Cir. 2013)).

        The Eleventh Circuit has not, however, ruled on the issue presented by this case, which is

 whether consent may be unilaterally revoked when it is given as part of a bargained-for contract.

 The issue has been addressed by the United States Court of Appeals for the Second Circuit in

 Reyes v. Lincoln Automotive Financial Services, 861 F.3d 51, 54 (2d Cir. 2017). In Reyes, the

 plaintiff consented in an agreement to lease a vehicle that the defendant could contact him “by

 manual calling methods, prerecorded or artificial voice messages, text messages, emails and/or

 automatic telephone dialing systems.” Id. at 53-54. The plaintiff failed to make payments on the

 lease, causing the defendant to begin calling him using pre-recorded messages. Id. at 54. The

 plaintiff requested that the defendant stop contacting him on his cellular telephone, which the

 plaintiff had provided to the defendant during the application process, but the defendant continued

 to make calls to the plaintiff. Id. The plaintiff filed suit against the defendant, arguing that it

 violated the TCPA by failing to cease calling him after he revoked his consent. Id. at 54-55.

        The Second Circuit recognized that the TCPA is silent as to revocation of consent, but

 noted that the FCC had issued a ruling indicating that prior express consent was revocable. Id. at

 56 (citing In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

 30 F.C.C. Rcd. 7961, 7993-94 (2015)). As the Eleventh Circuit had done in Osorio, the Second

 Circuit explained that by using the term “consent,” which has “accumulated [a] settled meaning .

 . . under the common law, a court must infer, unless the statute otherwise dictates, that Congress

 means to incorporate the established meaning of th[at] term [].” Id. at 56-57 (quoting Neder v.



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 United States, 527 U.S. 1, 21, 119 S. Ct. 1827, 144 L. Ed. 2d 35 (1999) (alterations in Reyes)).

 Although voluntary and gratuitous consent could be revoked under the common law, which was

 recognized by the Eleventh Circuit in Osorio, the Second Circuit explained that consent could

 “become irrevocable when it is provided in a legally binding agreement, in which case any

 attempted termination is not effective.” Id. at 57 (internal quotations and citations omitted). Under

 the circumstances of Reyes—where the plaintiff did not provide his consent to be contacted

 gratuitously, but instead as an express provision of a contract—the Second Circuit held that “

 ‘consent,’ as that term is used in the TCPA, [wa]s not revocable.” Id. The Court reasoned that

 permitting the plaintiff to “alter a bilateral contract by revoking a term without the consent of a

 counterparty” would be contrary to black-letter law, and stated that absent express language to the

 contrary, the Court could not “conclude the Congress intended to alter the common law of contracts

 in th[at] way.” Id.

        The United States District Court for the Northern District of Alabama recently applied the

 Reyes decision in Few v. Receivables Performance Management, No. 1:17-CV-2038-KOB, 2018

 WL 3772863, at *2 (N.D. Ala. Aug. 9, 2018), a case involving a contractual consent provision

 identical to that here. The Northern District of Alabama recognized that the Eleventh Circuit

 allows for the unilateral revocation of consent only “in the absence of any contractual restriction

 to the contrary[.]” Id. (quoting Osorio, 746 F.3d at 1255). Noting that the Eleventh Circuit has

 not ruled on the issue of unilateral revocation where a contractual consent provision exists, the

 Alabama court relied on Reyes and concluded that because the plaintiff gave consent to be called

 “as part of a bargained-for exchange and not merely gratuitously, she was unable to unilaterally

 revoke that consent.” Id.




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        This Court agrees. “[B]ecause an ‘agreement is a manifestation of mutual assent on the

 part of two or more persons,’ it is black-letter contract law that one party to an agreement cannot,

 without the other party’s consent, unilaterally modify the agreement once it has been executed.”

 Kuhne v. Fla. Dep’t of Corrs., 745 F.3d 1091, 1096 (11th Cir. 2014) (quoting Restatement

 (Second) of Contracts § 3 (Am. Law Inst. 1981) (citing 17A Am. Jur. 2d Contracts § 500 (West

 database updated Dec. 2013)). Nothing in the TCPA indicates that contractually-granted consent

 can be unilaterally revoked in contradiction to black-letter law. Moreover, the Eleventh Circuit

 has indicated that revocation may not be permitted where a contractual provision contrary to

 revocation exists, which is the exact case here. Medley consented to be contacted “through an

 automated or predictive dialing system or prerecorded messaging system, at the phone number

 (including any cellular phone number), or other contact information [she] provided or subsequently

 provide to Dish.” Doc. 31-3 at 3. She subsequently provided Dish with the Number. Doc. 51-2

 ¶ 11. Doc. 51-5 at 5. Thus, Medley granted prior express consent as part of a contractual provision

 that could not be unilaterally revoked.

        Nonetheless, Medley requests that this Court rely on the United States Court of Appeals

 for the Third Circuit’s decision in Gager v. Dell Financial Services, LLC, 727 F.3d 265, 270-71

 (3d Cir. 2013). There, the plaintiff in Gager “listed her cellular phone number” in a credit

 application that required her to provide her home phone number. Id. at 267. Unlike this case, the

 plaintiff in Gager did not indicate that the defendant “should not use an automated telephone

 dialing system to call her at the number she provided,” which the defendant later did. Id. In the

 ensuing TCPA action filed by the plaintiff, the defendant argued that it could not be held liable

 under the TCPA because “basic principles of contract law” precluded the plaintiff from revoking

 prior express consent, explaining that “a creditor will want to know in advance whether a credit



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 applicant will consent to automated phone calls and that this knowledge is part of the

 ‘consideration’ that the applicant offers in support of her application.” Id. at 273. The Third

 Circuit did not find this argument to be persuasive, and stated that the fact that the plaintiff “entered

 into a contractual relationship with [the creditor] did not exempt [the creditor] from the TCPA’s

 requirements.” Id. at 274. The Third Circuit concluded that the plaintiff “retained the right to

 revoke her prior express consent” despite the contractual relationship. Id.

         Medley urges that the Court should follow Gager, and that the Middle District of Florida

 has previously indicated that it favors the Gager analysis over that of Reyes in Patterson v. Ally

 Financial, Inc., No. 3:16-cv-1592-J-32-JBT, 2018 WL 647438 (M.D. Fla. Jan. 31, 2018). The

 Court is not persuaded, however. Notably, the plaintiff in Gager provided her telephone number

 only on an application, and not in a contract for services. 727 F.3d at 267. Moreover, the

 application in Gager did not specifically include a provision providing consent to be called on a

 cellular telephone by use of an automated or predictive dialing system or prerecorded messaging

 system, as is the case here, and as was the case in Reyes and Few. Accordingly, Gager is not

 applicable to this case.

         The decision in Patterson is likewise inapplicable here. Like the plaintiff in Gager, the

 plaintiff in Patterson provided his telephone number in connection with a credit application, and

 not as part of the ultimate contract for services. 2018 WL 647438, at *1. Indeed, the subsequent

 contract in Patterson, which did not include the consent provision, indicated that it was “the entire

 contract” between the parties. Id. Moreover, the consent provision in Patterson granted consent

 only to receive telemarketing calls and was not consent to receive calls made to collect a debt. Id.

 at *5. Accordingly, the Patterson Court was not faced with the factual scenario presented in this




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 case, in which Medley expressly consented to receiving debt-collection calls made with an

 automated or predictive dialing system or prerecorded messaging system.

        Likewise, the Court’s decision in Target National Bank v. Welch, No. 8:15-cv-614-T-36,

 2016 WL 1157043 (M.D. Fla. Mar. 24, 2016), also relied on by Medley, is not applicable here. In

 that case, like in Gager and Patterson, the plaintiff’s phone number was provided in connection

 with an application. Id. at *1. On appeal from an adversary proceeding in bankruptcy court against

 the creditor, this Court addressed whether consent embodied in a written contract could be orally

 revoked. Id. at *4. The Court found, based on Osorio, that consent could be revoked, and

 explained that the creditor did not point to any provision in the “credit card agreement that

 preclude[d] the oral revocation . . . or prior express consent.” Id. at *5. Here, Dish has pointed to

 provisions which expressly authorize the conduct in this case, which basic principles of contract

 law prevent Medley from unilaterally altering.

        Finally, Medley relies on Ammons v. Ally Financial, Inc., No. 3:17-cv-00505, 2018 WL

 3134619 (M.D. Tenn. June 27, 2018). There, the plaintiff provided her cell phone number in a

 credit application, but also agreed to be contacted by a prerecorded or artificial voice message and

 automatic telephone dialing system in the contract. Id. at *2. The contract provided that no oral

 changes would be binding. Id. The plaintiff ultimately filed a TCPA action against the creditor,

 and in ruling on cross motions for summary judgment, the United States District Court for the

 Middle District of Tennessee addressed the revocability of prior express consent in the presence

 of a contractual provision granting such consent. Id. at *9-15. Relying on this Court’s decisions

 in Patterson and Welch, as well as the Eleventh Circuit’s holding in Osorio, the United States

 District Court for the Middle District of Tennessee rejected the decision in Reyes. Id. at *11-15.

 The Court held that consumers could unilaterally revoke consent at any time and by any means,



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 even in the presence of a contractual provision granting consent. Id. at *15. The decision also

 relies heavily on the decision by the United States Court of Appeals for the District of Columbia

 in ACA International v. Federal Communications Commission, 885 F.3d 687 (D.C. Cir. 2018),

 concluding that it favors the Gager analysis over that in Reyes.

        However, this Court concludes that the distinctions in Patterson and Welch are not clearly

 addressed in Ammons, and declines to read Osorio as broadly as the Ammons Court. Additionally,

 although the Court in ACA International notes that the FCC explicitly denied the request that

 “callers [be able to] unilaterally prescribe the exclusive means for consumers to revoke their

 consent,” because such a rule “could materially impair the right of revocation,” 885 F.3d at 709

 (internal quotations omitted), the decision does not explicitly address the scenario in which the

 parties have bargained for prior express consent. Indeed, the decision recognizes that the FCC had

 not ruled on “parties’ ability to agree upon revocation procedures.” Id. at 710. Thus, the Court

 finds that in the absence of a statement by Congress that the TCPA alters the common-law notion

 that consent cannot be unilaterally revoked where given as part of a bargained-for contract, the

 Court will decline to do so.

        Accordingly, because Dish had prior express consent to make prerecorded voice calls to

 Medley’s cellular telephone, its calls to Medley did not violate the TCPA and it is entitled to

 summary judgment on Count IV of the Complaint.

        C.      Discovery

        The Eleventh Circuit “has often noted that summary judgment should not be granted until

 the party opposing the motion has had an adequate opportunity for discovery.” Snook v. Tr. Co.

 of Ga. Bank of Savannah, N.A., 859 F.2d 865, 870 (11th Cir. 1988). Specifically, “[i]f the

 documents or other discovery sought would be relevant to the issues presented by the motion for



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 summary judgment, the opposing party should be allowed the opportunity to utilize the discovery

 process to gain access to the requested materials.” Id. Thus, courts have deferred ruling on them

 until the requested materials are received.       Reyes v. BJ’s Rests., Inc., No. 17-62583-CIV-

 COHN/SELTZER, 2018 WL 3872111, at *3-4 (S.D. Fla. Aug. 15, 2018) (explaining that Federal

 Rule of Civil Procedure 56(d) allows a court to defer ruling on a motion for summary judgment

 where the non-moving party has not had an adequate opportunity to complete discovery); see also

 Fed. R. Civ. P. 56(d) (stating that where “a nonmovant shows by affidavit or declaration that, for

 specified reasons, it cannot present facts essential to justify its opposition, the court may (1) defer

 considering the motion . . . .”).

         Medley argued in her response that Dish’s Motion for Summary Judgment should be

 denied because discovery was still ongoing when the motion was filed. Doc. 37 at 19-20.

 Specifically, Medley had not yet deposed Dish’s corporate representative, whose deposition was

 scheduled for March 7, 2018. Doc. 37-3. Depositions of Dish’s corporate representatives were,

 in fact, conducted on March 7, 2018, and included as evidence in support of Medley’s Motion for

 Summary Judgment. Doc. 65-1; Doc. 65-3. The Court directed Medley to advise the Court

 whether she has had an adequate opportunity to conduct the discovery needed to support her claims

 and respond to Dish’s Motion for Summary Judgment (Doc. 81), and she replied that she had (Doc.

 83). Thus, ruling on the cross-motions for summary judgment is appropriate.

         Accordingly, it is ORDERED:

         1.      Defendant Dish Network L.L.C.’s Motion for Summary Judgment (Doc. 31) is

 GRANTED. As no genuine issues of material fact exist, Defendant is entitled to judgment in its

 favor as to all counts of the Complaint.

         2.      Plaintiff’s Motion for Partial Summary Judgment (Doc. 45) is DENIED.



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         3.     The Clerk is directed to enter judgment in favor of Defendant Dish Network L.L.C.

 and against Plaintiff Linda Medley as to Counts I, II, III, and IV of the Complaint.

         4.     The Clerk is further directed to terminate any pending motions as moot and close

 this case.

         DONE AND ORDERED in Tampa, Florida on August 27, 2018.




 Copies to:
 Counsel of Record and Unrepresented Parties, if any




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